           Case 8:18-bk-02807-RCT         Doc 17     Filed 06/05/18    Page 1 of 2



                                      ORDERED.

     Dated: June 04, 2018




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov

  IN RE:                                                        CASE NO.: 8:18-bk-02807-RCT
                                                                                CHAPTER 7
  MARK ALAN PIBURN,
         Debtor,
  JUDITH ANN PIBURN
  AKA JUDI ANN PIBURN,
         Joint Debtor.
  _________________________________/

            ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

        THIS CASE came on consideration without a hearing on SunTrust Mortgage, In.c.’s
(“Secured Creditor”) Motion for Relief from Stay (Docket No. 7). No appropriate response has
been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.


                                               1
           Case 8:18-bk-02807-RCT          Doc 17       Filed 06/05/18   Page 2 of 2




   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
       interest in the following property located at 2690 Alturas Road, Bartow, Florida 33830, in
       Polk County, Florida, and legally described as:
       Lot 15 and that part of vacated Paseo Palma lying within the extended bounds
       of Lot 15 and the Southwesterly ½ of vacated Lillian Street lying Northeasterly
       of and adjacent to said Lot 15 and its extended boundaries and lying 40 feet
       South of the centerline for County Road 655A, ROTHROCK’S
       SUBDIVISION, according to the map or plat thereof as recorded in Plat Book
       5, Page 50, of the Public Records of Polk County, Florida, lying in Section 9,
       Township 30 South, Range 26 East, Polk County, Florida.

   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement, loan
       modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


                                              ###
Attorney, Madson Wilson , is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order




                                                2
